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Attorneys for Defendant
Ambient Group, Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: WORLD TRADE CENTER LOWER                    21 MC 102 (AKH)
MANHATTAN DISASTER SITE
LITIGATION
JULIO CESAR MAYORGA GONZALEZ,                      INDEX NO.: 08-CV-02656 (AKH)

                          Plaintiff,
                                                            NOTICE OF APPEARANCE
-against-
                                                            ELECTRONICALLY FILED
100 CHURCH, LLC, ET. AL.,

                          Defendants.


COUNSELOR:

       PLEASE TAKE NOTICE that Defendant, AMBIENT GROUP, INC., by its attorneys,

McElroy, Deutsch, Mulvaney & Carpenter, LLP, hereby appears in the above-entitled action, and

that the undersigned have been retained as attorneys for said defendant and demand that copies of

all papers in this action be served upon the undersigned at the office and address stated below.



Dated: New York, New York
       May 15, 2008


                                             Yours etc.,

                                             McElroy, Deutsch, Mulvaney & Carpenter, LLP
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                                       Attorneys for Defendant
                                       Ambient Group, Inc.


                                       By:__ s/ John P. Cookson ____________________
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                            CERTIFICATION OF SERVICE

           I hereby certify that on the 15th day of May 2008, I electronically filed the foregoing
    NOTICE OF APPEARANCE BY DEFENDANT AMBIENT GROUP, INC., with the
    Clerk of the Court using the CM/ECF System which sends notification to appearing parties.


                                          McElroy, Deutsch, Mulvaney & Carpenter LLP

                                                  By: _s/ John P. Cookson _______
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